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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

CARLEEN A. SCHNITKER,

                       Plaintiff,                       Case No.: 1:20-cv-00412-WBS

v.
                                                        ORDER OF DISMISSAL
NAMPA SCHOOL DISTRICT, a political
subdivision, and JOHN/JANE DOES I-V,
whose true identities are unknown,

                       Defendant.

        JUDGMENT IS ENTERED AS FOLLOWS: Pursuant to the signed Stipulation to

Dismiss with Prejudice filed with the Court on December 20, 2022, Plaintiff’s Complaint against

Defendant Nampa School District is hereby DISMISSED, in its entirety, with prejudice, with

each party to bear its own costs and attorney’s fees.

IT IS SO ORDERED.

//end of text//


Dated: December 21, 2022




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                                                                   ORDER OF DISMISSAL - 1
